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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SEVEN NETWORKS, LLC,

                       Plaintiff,                    CIVIL ACTION NO. 2:17-CV-442-JRG
                                                     LEAD CASE
v.
                                                     PATENT CASE
GOOGLE INC.,
                                                     JURY TRIAL DEMANDED
                       Defendant.


v.

SAMSUNG ELECTRONICS AMERICA, INC. AND                CIVIL ACTION NO. 2:17-CV-441-JRG
SAMSUNG ELECTRONICS CO., LTD.,                       CONSOLIDATED CASE

                       Defendants.


                            ORDER REGARDING E-DISCOVERY

       The Court ORDERS as follows:

       1.      This order supplements all other discovery rules and orders. It is intended to

streamline production of Electronically Stored Information (“ESI”) to promote a “just, speedy,

and inexpensive determination” of this action, as required by Rule 1 of the Federal Rules of Civil

Procedure.

       2.      A party’s meaningful compliance with this order and efforts to promote efficiency

and reduce costs will be considered in cost-shifting determinations.

       3.      Absent a showing of good cause, general ESI production requests under Rules 34

and 45 of the Federal Rules of Civil Procedure, or compliance with a mandatory disclosure

requirement of this Court, shall not include metadata. However, the metadata fields listed in

Appendix 1, shall be included in the production if such fields exist.


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      4.    The following parameters shall apply to ESI production:

            A.      General Document Image Format. Each electronic document shall be

     produced in single-page Tagged Image File Format (“TIFF”) format. TIFF files shall be

     single page and shall be named with a unique production number followed by the

     appropriate file extension. Load files shall be provided to indicate the location and

     unitization of the TIFF files. If a document is more than one page, the unitization of the

     document and any attachments and/or affixed notes shall be maintained as they existed in

     the original document.

            B.      Text-Searchable Documents. No party has an obligation to make its

     production text-searchable; however, if a party’s documents already exist in text-

     searchable format independent of this litigation, or are converted to text-searchable

     format for use in this litigation, including for use by the producing party’s counsel, then

     such documents shall be produced in the same text-searchable format at no cost to the

     receiving party.

            C.      Footer. All images must be assigned a unique Bates number that is

     sequential within a given document and generally across the production sets.

            D.      Security. Both parties will make reasonable efforts to ensure that any

     productions made are free from viruses and provided on encrypted media.

            E.      Confidentiality Designation. Responsive documents in TIFF format will

     be stamped with the appropriate confidentiality designations in accordance with the

     Protective Order in this matter. Each responsive document produced in native format will

     have its confidentiality designation identified in the filename of the native file.




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             F.     Native Files. Spreadsheets (e.g., MS Excel, Google Sheets) and delimited

     text files (e.g. comma-separated value (.csv) files and tab-separated value (.tsv) files)

     shall be produced in their native file format. TIFF images need not be produced unless

     the files have been redacted, in which instance such files shall be produced in TIFF with

     OCR Text Files. If good cause exists to request production of files, other than those

     specifically set forth above, in native format, the party may request such production and

     provide an explanation of the need for native file review, which request shall not

     unreasonably be denied. Any native files that are produced shall be produced with a link

     in the NativeLink field, along with extracted text and applicable metadata fields set forth

     in Appendix 1. A TIFF placeholder indicating that the document was provided in native

     format should accompany the database record. If a file has been redacted, TIFF images

     and OCR text of the redacted document will suffice in lieu of a native file and extracted

     text.

             G.     No Backup Restoration Required. Absent a showing of good cause, no

     party need restore any form of media upon which backup data is maintained in a party’s

     normal or allowed processes, including but not limited to backup tapes, disks, SAN, and

     other forms of media, to comply with its discovery obligations in the present case.

             H.     Voicemail and Mobile Devices. Absent a showing of good cause,

     voicemails, PDAs, and mobile phones are deemed not reasonably accessible and need not

     be collected and preserved. This provision is intended to address devices used by the

     parties and others subject to production obligations, and is not intended to otherwise

     impact discovery obligations with respect to Accused Instrumentalities.




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            I.      Culling and Filtering. Each party will endeavor to filter out common

     system files and application executable files by using a commercially reasonable hash

     identification process. Hash values that may be filtered out during this process are located

     in the National Software Reference Library (“NSRL”) NIST hash set list. Additional

     culling of system file types based on file extension may include, but are not limited to:

     WINNT, DRVS, C++ Program File (c), C++ Builder 6 (cpp), Channel Definition Format

     (cdf), Creatures Object Sources (cos), Dictionary file (dic), Executable (exe), Hypertext

     Cascading Style Sheet (css), JavaScript Source Code (js), Label Pro Data File (IPD),

     Office Data File (NICK), Office Profile Settings (ops), Outlook Rules Wizard File (rwz),

     Scrap Object, System File (dll), Temporary File (tmp), Windows Error Dump (dmp),

     Windows Media Player Skin Package (wmz), Windows NT/2000 Event View Log file

     (evt), Python Script files (.py, .pyc, .pud, .pyw), or Program Installers. Notwithstanding

     the forgoing, no party shall intentionally withhold relevant and discoverable documents

     with the above file types.

            J.      Deduplication. A party is required to produce only a single copy of a

     responsive document and a party may de-duplicate responsive ESI (based on MD5 or

     SHA-1 hash values at the document level) across Custodians, but shall identify all

     custodians of each file. For emails with attachments, the hash value is generated based

     on the parent/child document grouping. To the extent that de-duplication through MD5

     or SHA-1 hash values is not possible, the parties shall meet and confer to discuss any

     other proposed method of de-duplication.




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           5.        General ESI production requests under Rules 34 and 45 of the Federal Rules of

Civil Procedure, or compliance with a mandatory disclosure order of this Court, shall not include

email or other forms of electronic correspondence (collectively “email”). To obtain email, parties

must propound specific email production requests.

           6.        Email production requests shall be phased to occur timely after the parties have

exchanged (1) initial disclosures, (2) a specific listing of likely email custodians, (3) a specific

identification of the ten most significant listed email custodians in view of the pleaded claims

and defenses, 1 (4) infringement contentions and accompanying documents pursuant to L.R. 3-1

and 3-2, (5) invalidity contentions and accompanying documents pursuant to L.R. 3-3 and 3-4,

and (6) preliminary information relevant to damages. The exchange of this information shall

occur at the time required under the Federal Rules of Civil Procedure, Local Rules, or by order of

the Court. Each requesting party may also propound up to five written discovery requests (in

addition to any limits set forth in the Discovery Order) and take one deposition (in addition to

any limits set forth in the Discovery Order) per producing party to identify the proper custodians,

proper search terms, and proper time frame for email production requests. The Court may allow

additional discovery upon a showing of good cause.

           7.        Email production requests shall identify the custodian, search terms, and time

frame. The parties shall cooperate to identify the proper custodians, proper search terms, and

proper time frame to avoid an unreasonably large number of emails. Each requesting party shall

limit its email production requests to a total of five custodians per producing party for all such

requests. The parties may jointly agree to modify this limit without the Court’s leave. The Court




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    A “specific identification” requires a short description of why the custodian is believed to be significant.



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shall consider contested requests for additional or fewer custodians per producing party, upon a

showing of a distinct need based on the size, complexity, and issues of this specific case.

       8.      Each requesting party shall limit its email production requests to a total of seven

search terms per custodian per party. The parties may jointly agree to modify this limit without

the Court’s leave. The Court shall consider contested requests for additional or fewer search

terms per custodian, upon a showing of a distinct need based on the size, complexity, and issues

of this specific case. The search terms shall be narrowly tailored to particular issues.

Indiscriminate terms, such as the producing company’s name or its product name, are

inappropriate unless combined with narrowing search criteria that sufficiently reduce the risk of

overproduction. A conjunctive combination of multiple words or phrases (e.g., “computer” and

“system”) narrows the search and shall count as a single search term. A disjunctive combination

of multiple words or phrases (e.g., “computer” or “system”) broadens the search, and thus each

word or phrase shall count as a separate search term unless the words or phrases are variants of

the same word or phrase. Use of narrowing search criteria (e.g., “and,” “but not,” “w/x”) is

encouraged to limit the production and shall be considered when determining whether to shift

costs for disproportionate discovery.

       9.      To the extent relevant to the Litigation, source code will be made available for

inspection pursuant to the terms of the Protective Order. The parties agree that the search terms

will not be applied to source code.

       10.     Pursuant to Rule 502(d) of the Federal Rules of Evidence, the production of

privileged or work-product-protected ESI is not a waiver in the pending case or in any other

federal or state proceeding. For example, the mere production of privilege or work-product-

protected documents in this case as part of a mass production is not itself a waiver in this case or




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any other federal or state proceeding. A producing party may assert privilege or protection over

produced documents at any time by notifying the receiving party in writing of the assertion of

privilege or protection. In addition, information that contains privileged matter or attorney work

product shall be immediately returned if such information appears on its face to have been

inadvertently produced pursuant to Fed. R. Evid. 502(b).

       11.     Nothing in this Agreement shall be interpreted to require disclosure of irrelevant

information or relevant information protected by the attorney-client privilege, work-product

doctrine, common interest privilege, or any other applicable privilege or immunity. The parties
    .
do not waive any objections as to the production, discoverability, admissibility, or confidentiality

of documents and ESI.

       12.     The mere production of ESI in a litigation as part of a mass production shall not

itself constitute a waiver for any purpose.

       13.     Except as expressly stated, nothing in this Order affects the parties’ discovery

obligations under the Federal Rules, Local Rules, or orders of the Court.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 13th day of October, 2017.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE




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                                            Appendix 1

        A. Production Components. Productions shall include, in addition to single page TIFFs
        and Text Files, (a) an ASCII delimited metadata file (.txt, .dat, or .csv), and (b) an image
        load file that can be loaded into commercially acceptable production software (e.g.,
        Concordance).

        B. Image Load File shall contain the following comma-delimited fields:
        BEGBATES, VOLUME, IMAGE FILE PATH, DOCUMENT BREAK, FOLDER
        BREAK, BOX BREAK, PAGE COUNT

        C. Metadata Load File shall be delimited according to the following characters:
                     o Delimiter = D (ASCII:0020)
                     o Text-Qualifier = þ (ASCII:00254)

        D. The following Metadata Fields shall appear in the metadata load file:

        Field Name                                     Field Description

BEGBATES                       Beginning Bates number as stamped on the production image

ENDBATES                       Ending Bates number as stamped on the production image

BEGATTACH                      First production Bates number of the first document in a family

ENDATTACH                      Last production Bates number of the last document in a family

CUSTODIAN                      Includes the Individual (Custodian) from whom the documents
                               originated and all Individual(s) whose documents de-duplicated
                               out (De-Duped Custodian).

SUBJECT                        Subject line of email

TITLE                          Title from properties of document

DATESENT                       Date email was sent (format: MM/DD/YYYY)

TO                             All recipients that were included on the “To” line of the email

FROM                           The name and email address of the sender of the email

CC                             All recipients that were included on the “CC” line of the email

BCC                            All recipients that were included on the “BCC” line of the email

                               Any value populated in the Author field of the document
AUTHOR
                               properties

FILENAME                       Filename of an electronic document


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FILEPATH               Filepath of an electronic document

                       Date an electronic document was last modified (format:
DATEMOD
                       MM/DD/YYYY) (Edoc only)
                       Date the document was created (format: MM/DD/YYYY)
DATECREATED
                       (Edoc only)
NATIVELINK             Native File Link (Native Files only)




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